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       Barbers Hill ISD Student Handbook
            2019–2020 School Year
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Board of Trustees
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Fred Skinner – Vice-President
Cynthia Erwin - Secretary
Eric Davis – Member
Benny May – Member
Clint Pipes – Member
Becky Tice – Member


*Meetings of the Board of Trustees are open to the public. Regular meetings are held on the
Fourth Monday of each month at 6:30 p.m. in the Board Room of the C.T. Joseph Conference
Center located at 9600 Eagle Drive, Mt. Belvieu, TX 77580


Superintendent
Greg Poole, Ed.D.


Deputy Superintendent
Sandra Duree


Assistant Superintendents
Becky McManus – Finance
Barbara Ponder – Personnel
Stanley Frazier – Planning and Operations
Sue Garcia – Special Services


Directors
Tom Westerberg – Athletics
Jami Navarre – Community Relations
Becky Johnson – Operations
Susan Leblanc – School Nutrition
Kristen Davis – Technology




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Principals
Rick Kana – High School
Lance Murphy – Middle School North
Chloe Yowell- Middle School South
Stephanie Martin – Elementary School North
Melissa Barrington, Ed.D. – Elementary School South
Lisa Watkins – Early Childhood Center
Daniel Andrews – D.A.E.P.


Chief of Police – Charles K. Widner, Jr.


                             Barbers Hill Independent School District


Barbers Hill High School……………………………………………………………………281-576-2221, Ext. 1229
Rick Kana, Principal
Mailing Address                                Physical Address
P. O. Box 1108                                 9696 Eagle Drive
Mont Belvieu, TX 77580                         Mont Belvieu, TX 77523

Barbers Hill Middle School North………………………………………………………281-576-2221, Ext. 1410
Lance Murphy, Principal
Mailing Address                                Physical Address
P. O. Box 1108                                 9600 Eagle Drive
Mont Belvieu, TX 77580                         Mont Belvieu, TX 77523

Barbers Hill Middle School South………………………………………………………281-576-2221, Ext. 1230
Chloe Yowell, Principal
Mailing Address                                Physical Address
P. O. Box 1108                                 9600 Eagle Drive
Mont Belvieu, TX 77580                         Mont Belvieu, TX 77523




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Barbers Hill Elementary School North…………………………………………………281-576-2221, Ext. 2807
Stephanie Martin, Principal
Mailing Address                            Physical Address
P. O. Box 1108                             4400 Perry Ave.
Mont Belvieu, TX 77580                     Mont Belvieu, TX 77523

Barbers Hill Elementary School South…………………………………………………281-576-2221, Ext. 1518
Melissa Barrington, E.d.D, Principal
Mailing Address                            Physical Address
P. O. Box 1108                             9600 Eagle Drive
Mont Belvieu, TX 77580                     Mont Belvieu, TX 77523

Barbers Hill Early Childhood Center……………………………………………………281-576-2221, Ext.
Lisa Watkins, Principal
Mailing Address                            Physical Address
P. O. Box 1108                             14400 Lakes of Champions
Mont Belvieu, TX 77580                     Mont Belvieu, TX 77523

Barbers Hill D.A.E.P. (EPIC)…………………………………………………………………281-576-2221, Ext. 1436
Daniel Andrews, Principal
Mailing Address                             Physical Address
P. O. Box 1108                              9600 Eagle Drive
Mont Belvieu, TX 77580                      Mont Belvieu, TX 7752

Barbers Hill Administration Building…………………………………………………………………..281-576-2221
Greg Poole, E.d.D, Superintendent
Mailing Address                             Physical Address
P. O. Box 1108                              9600 Eagle Drive
Mont Belvieu, TX 77580                      Mont Belvieu, TX 7752




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Pants, Shorts, Skirts and Dresses
      General rule for determining the length of shorts, skirts and dresses (including slits on
       dresses and skirts) will be that they must be worn at the waist line and extend below the
       index finger at the shortest point of the garment.
      Pants, shorts, skirts and dresses shall not be torn, ripped, frayed or have worn areas with
       fabric underneath. All bottoms must have a finished hem.
      No holes or tears will be permitted in any article of clothing.
      All patches used to cover holes must be placed on the outside of clothing.
      Pants must completely cover underclothing. Sagging pants or shorts will not be allowed.
      Leggings, jeggings, yoga pants and spandex shorts may only be worn with a dress, skirt,
       or top that is fingertip length or longer.
      Overalls and suspenders, if worn, must be worn over the shoulders and buckled as
       designed.
      Boys will not be permitted to wear skirts or dresses.
      Tennis shorts, running shorts, spandex/biker shorts and boxer shorts are not allowed.
      Tight fitting shorts will not be allowed.
Shoes / Footwear
      Pool or beach type shoes, house shoes/slippers and steel toe boots are not permitted.
      Backless sandals are permitted as long as the sole/footbed is not made of rubber or
       plastic.
Head Coverings
      No type of head covering, cap or hat is permitted in the building.
Coats and Jackets
      Trench coats, duster coats and like garments are prohibited.
      Hoodies and/or sweatshirts may not extend below the wrist in a normal standing position.
       Hoods may not be worn inside the building at any time.
Hair
      Hair must be neat, clean and well-groomed.
      Geometric or unusual patterns (including Mohawks and Faux hawks) shaved or cut in the
       hair are not permitted.
      Unnatural hair color or color variation in hair (i.e. scarlet, purple, blue, green, orange, etc.)
       will not be permitted.
      Ribbons or other types of hair accessories must be worn in good taste and only when
       appropriate to hairstyle.
      Boy’s hair will not extend, at any time, below the eyebrows, below the ear lobes, or below
       the top of a t-shirt collar. Corn rows and/or dread locks are permitted if they meet the
       aforementioned lengths.
      Boys are not permitted to wear hair accessories.




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                                     Barbers Hill ISD - Dress and Grooming Code

The district’s dress code is established to teach grooming and hygiene, instill discipline, maintain a safe and positive learning
environment, prevent disruption, avoid safety hazards, and teach respect for authority.

Students shall be dressed and groomed in a manner that is clean and neat and that will not be a health or safety hazard to themselves
or others. The District prohibits any clothing or grooming that in the principal’s judgment may reasonably be expected to cause
disruption of or interference with normal school operations.

The district prohibits students from communicating images, or messages through their attire that:


    1.   Are lewd, offensive, vulgar, or obscene.

    2.   Advertise or depict tobacco products, alcoholic beverages, drugs, or any other substance prohibited under FNCF (LEGAL).

    3.   Create or pose a reasonable risk of creating a material disruption in the school environment.

The student and parent may determine the student’s personal dress and grooming standards, provided that they comply with the
general guidelines set out above and with the student dress code outlined below.


General Guidelines:

        Any type of dress, insignia, neckband, accessory, shirt, or other clothing with lewd, offensive, vulgar or obscene messages; or
         which advertise or exploit tobacco products, alcoholic beverages, drugs or other illegal substances; or which create or pose
         a reasonable risk of creating a material disruption in the learning environment will not be allowed.
        Any clothing, accessories, symbols, or jewelry which depict or suggest association with a gang shall not be brought to school,
         worn at school or in any way be present at any school related event.
        Bandanas or look-alike bandanas will not be permitted.
        Appropriate underclothing must be worn and covered at all times.
        Bedroom attire is not acceptable. Students may not wear pajamas or like garments.
        Students will be required to remain in dress code until they have left campus.

Shirts and Tops

        Strapless, bare backs, bare midriffs, and low necklines are unacceptable. The general rule for determining proper length on
         shirts and tops will be whether the arms can be raised above the head without a bare midriff showing. Any type of flimsy,
         see-through material is not allowed. Sheer tops covering unacceptable clothing are not acceptable. Any type clothing must
         be long enough to preserve modesty when seated. No clothing may be worn that fits so tightly as to be immodest.
        All hoodies, sweatshirts and shirt tail length may not extend below the wrist in a normal standing position.
        Shirts with sayings, slogans, signs or symbols that violate the guidelines set out in this Dress Code will not be allowed.
        Students shall wear shirts, blouses and other types of tops that are appropriate to the learning environment and consistent
         with the Dress Code.
              o For female students, the design of the top should preserve modesty. Low cut necklines are unacceptable. All tops
                  must cover and not reveal undergarments. No spaghetti straps or strapless tops will be allowed. Tank top straps
                  must measure at least 2 inches in width.
              o For male students, sleeveless or open-arm shirts are not permitted. Shirt sleeves must have a hem.

Pants, Shorts, Skirts and Dresses

        The general rule for determining the length of shorts, skirts and dresses (including slits on dresses and skirts) will be that they
         must be worn at the waist line and extend below the index finger at the shortest point of the garment.
        Pants, shorts, skirts and dresses shall not be torn, ripped, frayed or have worn areas with fabric underneath. All bottoms must
         have a finished hem.
        No holes will be permitted in any article of clothing.
        All patches used to cover holes must be placed on the outside of clothing.

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          Pants must completely cover underclothing. Sagging pants or shorts will not be allowed.
          Overalls and suspenders, if worn, must be worn over the shoulders and buckled as designed.
          Male students will not be permitted to wear skirts or dresses.
          Tight fitting shorts will not be allowed.
          Grades PK-6:
               o Leggings, jeggings, yoga pants and spandex shorts may only be worn with a dress, skirt, or top that is fingertip length
                      or longer.
          Grades 7-12:
               o Leggings, jeggings, yoga pants and spandex shorts may only be worn with a dress or skirt that is fingertip length or
                      longer.
               o Tennis shorts, running shorts, spandex/biker shorts and boxer shorts are not allowed.

Shoes / Footwear

          Pool or beach type shoes, house shoes/slippers and steel toe boots are not permitted.
          Grades PK-6:
               o Footwear must have a back designed to stay on the foot during physical activities (i.e., tennis shoes.)
               o Footwear not allowed: Footwear without backs, cleats, wheelies (shoes with rollers), high heels/wedges, flip-flops,
                    rubber/plastic sandals
          Grades 7-12:
               o Backless sandals are permitted so long as the sole/footbed is not made of rubber or plastic.

Head Coverings

          No type of head covering, cap or hat is permitted in the building.

Coats and Jackets

          Trench coats, duster coats and like garments are prohibited.
          Hoodies and/or sweatshirts may not extend below the wrist in a normal standing position. Hoods may not be worn inside
           the building at any time.

Hair

          Hair must be clean and well-groomed.
          Geometric or unusual patterns (including Mohawks and Faux hawks) shaved or cut in the hair are not permitted.
          Unnatural hair color or color variation in hair (i.e. scarlet, purple, blue, green, orange, etc.) will not be permitted.
          Ribbons or other types of hair accessories should not distract from the learning environment and be appropriate to the
           hairstyle.
          Male students’ hair will not extend, at any time, below the eyebrows or below the ear lobes. Male students’ hair must not
           extend below the top of a t-shirt collar or be gathered or worn in a style that would allow the hair to extend below the top of
           a t-shirt collar, below the eyebrows, or below the ear lobes when let down.

Facial Hair

          No student will be permitted to cut lines or designs in the eyebrows.
          Students must be clean-shaven at all times. Beards, goatees and mustaches are not allowed.
          Sideburns must be neat and well-groomed and may not extend below the ear lobe or flare at the bottom.

Jewelry

          No student shall be permitted to wear visible piercings on body parts other than the ear (i.e., nose, eyelids, lips, tongue, etc.)
           No student will be allowed to wear gauged plugs and/or other objects in the ear.
          Covering body piercing with Band-Aids, tape, spacers, or any other temporary covering is not acceptable.
          Students may not wear chains or jewelry that has the potential to be used as a weapon. Collars intended for use on animals
           are prohibited.
          Male students will not be allowed to wear earrings in the ears.



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Tattoos / Make-Up

        Tattoos and/or any other drawings on the skin must be covered.
        Grades PK-6:
             o Students will not be permitted to wear make-up.

        Grades 7-12:
             o Male students will not be permitted to wear make-up or nail polish.


Sunglasses

        Students shall not wear sunglasses in the building.



Extracurricular Activities (School Sponsored Trips, Special Events, Banquets and Prom)

        The principal, in cooperation with the sponsor, coach, or other person in charge of the extracurricular activity, will regulate
         the dress and grooming of the students and their guests. Students who violate dress and grooming standards established for
         such an activity may be removed or excluded from the activity for a period determined by the principal or sponsor and may
         be subject to other disciplinary action, as specified in the Student Code of Conduct.

Exemptions

        The principal may grant an exemption to any of the above provisions if a student has a disability or medical condition
         rendering compliance with the provisions detrimental to the student’s physical health or if a student requests and is approved
         for a religious exemption. A student who wishes to receive a disability or religious exemption from the dress code must
         complete and submit the dress code exemption form, which is available on each campus and on the District website.


Interpretation of Appropriateness

        Campus administrators shall be authorized to appraise a student’s attire to determine its conformance with this Dress Code.
        Administrators and teachers shall be responsible for the enforcement of dress code.
        The dress code will apply to all students and to all activities, co-curricular and extracurricular. Any exceptions must be
         made by the principal and will apply only to special occasions (i.e. Red Ribbon week).


Violations

In grades PK-8, students who come to school in violation of the Dress and Grooming Code will be disciplined as deemed
appropriate/necessary, such as in school suspension, until the violation has been corrected. Students will be given until the following
school day to correct hair violations.

In grades 9-12, students who come to school in violation of the Dress and Grooming Code will be assigned to in school suspension.

In addition, parents may be asked to bring appropriate attire to school to assist in correcting the violation. Any student taken home
by parents for a change of clothes, without nurse or principal approval, will have an unexcused absence for any missed class time.




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